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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                       FORT WAYNE DIVISION


MICHAEL CAMPBELL, et al.                       )
                                               )
Plaintiffs,                                    )
                                               )
vs.                                            )    NO. 1:06-CV-334
                                               )
SUPERVALU D/B/A SCOTT’S F/K/A                  )
CUB FOODS,                                     )
                                               )
Defendant.                                     )

                         OPINION AND ORDER
      This matter is before the Court on the Motion to Dismiss,

filed by Defendant, Supervalu d/b/a Scott’s f/k/a Cub Foods, on

October 31, 2006.   For the reasons set forth below, this motion is

DENIED.



BACKGROUND

      Plaintiffs, Connie and Duane Campbell, are the parents of

Plaintiff, Michael Campbell.        According to the allegations of the

complaint, in September of 1993 Connie Campbell purchased ground

beef from Defendant’s meat department.        The next day she prepared

a meal containing the ground beef, which Michael consumed and then

became ill.    Michael was subsequently hospitalized and diagnosed

with Hemolytic Uremic Syndrome, a condition associated with E-Coli

Gastroenteritis.      According      to   Plaintiffs,   the    ground     beef
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contained E-Coli bacteria at the time Connie purchased it from

Defendant and      Michael’s ingestion of that ground beef is what

caused Plaintiffs’ injuries.         As a result, Plaintiffs have filed a

three-count complaint based upon Indiana law.

       Defendant   has    filed      the    instant   motion     arguing     that

Plaintiffs’ state law claims are preempted by the Federal Meat

Inspection Act ("FMIA"), 21 U.S.C. section 601 et seq. This motion

is now briefed and ripe for adjudication.



DISCUSSION

       Motion to Dismiss Standard

       The purpose of a motion to dismiss is to test the sufficiency

of the complaint, not to decide the merits of the case.                Under the

"simplified    notice    pleading"     of    the   Federal   Rules     of   Civil

Procedure, courts consider whether relief is possible under any set

of facts that could be established consistent with the allegations.

Bartholet v. Reishauer A.G., 953 F.2d 1073, 1078 (7th Cir. 1992);

see Venture Assocs. Corp. v. Zenith Data Sys. Corp., 987 F.2d 429,

432 (7th Cir. 1993) ("[a] motion to dismiss should be granted only

if it appears beyond doubt that the plaintiff can prove no set of

facts that would entitle him to relief").             A court must construe

pleadings liberally and "mere vagueness or lack of detail does not

constitute sufficient grounds for a motion to dismiss." Strauss v.

City   of   Chicago,    760   F.2d   765,    767   (7th   Cir.   1985).      When

considering a defendant's motion to dismiss, a court accepts all
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facts alleged in the complaint as true and draws all reasonable

inferences in the light most favorable to the plaintiff.                        Johnson

v. Rivera, 272 F.3d 519, 520 (7th Cir. 2001).                A complaint need not

plead    law   or    be   tied   to    one     legal   theory.      LaPorte      County

Republican Cent. Comm. v. Board of Comm'rs of the County of

LaPorte, 43 F.3d 1126, 1129 (7th Cir. 1994) (citing Bartholet, 953

F.2d at 1078).        A complaint may not be dismissed just because it

omits factual allegations, but it may be dismissed when the

plaintiffs make clear that they do not plan to prove an essential

element of their case.           Id.



        The FMIA Does Not Preempt Plaintiffs’ Claims

        The FMIA is a regulatory scheme created to provide uniform

national meat inspection programs.               21 U.S.C. § 661.           The purpose

of the FMIA is to ensure that meat distributed to consumers is

wholesome, not adulterated, and properly marked, labeled, and

packaged.      21 U.S.C. § 602.          Under this scheme, inspectors are

appointed to exam and inspect meat and then to "mark, stamp, tag,

or label as ‘Inspected and passed’" those products found not to be

adulterated.        21 U.S.C. § 606.         It is undisputed that as of 1993,

when    the    ground     beef   at    issue    was    allegedly    purchased       from

Defendant, neither Congress nor the United States Department of

Agriculture ("USDA") adopted regulations concerning the presence of

E. Coli bacteria in meat products.                Boulahanis v. Prevo’s Family

Market, Inc., 583 N.W.2d 509, 512 (Mich. Ct. App. 1998).
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        The    FMIA    contains   an    express   preemption     clause,     which

provides, in pertinent part, as follows:

               Requirements within the scope of this chapter
               with respect to . . . any establishment at
               which inspection is provided . . . which are
               in addition to, or different from those made
               under this Act may not be imposed by any state
               . . .

21 U.S.C. § 678.

         Based upon the FMIA’s preemption clause, Defendant argues

that Plaintiffs’ state law claims must fail as a matter of law.

Plaintiffs concede that their state law claims would be preempted

if the allegations were that the beef was tainted at its source and

then sold to them by Defendant.           However, Plaintiffs complaint is

that Defendant received the meat uncontaminated and then introduced

the particular strain of E. Coli to the beef when its meat

department negligently ground it for packaging and sale to Ms.

Campbell.       This claim, Plaintiffs argue, is not preempted by the

FMIA.

        When addressing preemption claims, this Court’s "sole task is

to ascertain the intent of Congress," and preemption "not to be

lightly presumed."         Cal. Fed. Sav. & Loan v. Guerra, 479 U.S. 272,

280-1 (1987).          "A federal law may preempt a state law expressly,

impliedly through the doctrine of conflict preemption, or through

the doctrine of field preemption."           Boomer v. AT&T Corp., 309 F.3d

404,     417    (7th    Cir.   2002).     Defendant    only    argues     express
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preemption.1   Thus, the Court can only assume that Defendant does

not believe the FMIA impliedly preempts Plaintiff’s state law

claims.   See Laborers’ Intern. Union of North America v. Caruso,

197 F.3d 1195, 1197 (7th Cir. 1999)(finding that arguments not

addressed are deemed waived).

     Express preemption occurs when a federal statute explicitly

states that it overrides state or local law. The FMIA’s preemption

clause expressly limits states in their ability to govern meat

inspection and labeling requirements "of any establishment at which

inspection is provided [under the statute]."         Neither party cites

any case law that has ruled on the issue squarely before this

Court; that is, whether, in 1993, a grocer could be held liable

under a state law negligence claim for contaminating meat with E.

Coli and then selling that meat to a customer.               Nevertheless,

Defendant maintains that the Michigan court of appeals’ decision in

Boulahanis is sufficiently analogous to be determinative.                 583

N.W.2d 509.    In Boulahanis, consumers brought state law claims

against a meat processor, distributor and grocery store after



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        Nevertheless, based on the arguments presented, this
Court would not find an implied preemption. Conflict preemption
exists if it would be impossible for a party to comply with both
local and federal requirements or where local law "stands as an
obstacle to the accomplishment and execution of the full purposes
and objectives of Congress." Freightliner Corp. v. Myrick, 514
U.S. 280, 287 (1995). Field preemption occurs when federal law
so thoroughly "occupies a legislative field" as to make it
reasonable to infer that Congress has left no room for the states
to act." Cipollone v. Liggett Group, Inc., 505 U.S. 504, 516
(1992). Neither of these doctrines would necessitate the finding
of preemption here.
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consuming ground beef contaminated with E. Coli.           The contaminated

meat was produced by the meat processor, IBP, Inc., sent to the

distributor, shipped to the grocery store, and then sold to the

customer.   Because the FMIA expressly preempts states from placing

any additional or different requirements on meat producers other

than   those   of   the   federal   government,    the    court      found   that

"[h]olding defendants liable for failing to detect the presence of

E.Coli bacteria in the meat purchased by plaintiff . . . would run

contrary to the USDA’s then-existing determination that inspection

for E-Coli was not required."        Id. at 512.    As such, the court of

appeals found plaintiffs’ claims were preempted by federal law.

       Quite unlike the claim in Boulahanis, where the defendant

grocery store allegedly failed to detect E. Coli - which it was not

required to do under the FMIA - the allegations here are that

Defendant’s negligence actually introduced E. Coli to the ground

beef that injured Plaintiffs.          Defendant claims this to be a

distinction    without    a   difference,   but    this   Court       disagrees.

Surely, if the Defendant merely sold contaminated meat that passed

inspection under the FMIA, as in Boulahanis, it would follow that

any state law claim against Defendant would be preempted.                    Here,

though, inspection and detection are not at issue.                   Plaintiffs’

state law claims do not attempt to place additional or different

requirements on any federal regulated matters, as in Boulahanis.

What is at issue is Defendant’s alleged actions of contaminating

the meat. The Court is unconvinced that the FMIA, which is labeled
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"Meat Inspection," necessarily preempts Plaintiffs’ claims of

Defendant’s negligent conduct.      While the FMIA’s preemption clause

does limit states in their ability to govern meat inspection and

labeling requirements, 21 U.S.C. § 678, it does not preempt the

entire field of meat commerce.      Empacadora de Carnes de Fresnillo,

S.A. de D.V., v. Curry, 476 F.3d 326, 333 (5th Cir. 2007).            At this

time, the Court can imagine a set of facts that would permit

Plaintiffs’ claims to fall outside of the preemption clause.

     Defendant makes much of the fact that Boulahanis made no

distinction between the producer, distributor or seller of the meat

products.   Defendant points out that all three were entitled to

dismissal based upon preemption grounds, which should compel the

same result here.   Respectfully, this Court disagrees.            It is true

that in Boulahanis, the producer, distributor and seller were all

granted dismissal based upon preemption grounds.           However, those

defendants were entitled to preemption because the allegations

against them stemmed from the plaintiff’s attempt at bringing a

claim that was preempted by the FMIA - a state law claim placing

additional requirements on the inspection and detection of E. Coli

bacteria.   Notably, since those claims were preempted, Boulahanis

never addressed the distinction between the defendants’ status,

including whether the defendant grocery store was "an establishment

at which meat inspection is provided," under the FMIA. Thus, there

is still the unresolved question as to whether or not Defendant’s

establishment is the type of establishment that can be regulated
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under the FMIA.    See 21 U.S.C. § 678 (noting that the preemption

applies to establishments where inspections are provided).



CONCLUSION

     For the reasons set forth above, Defendant’s motion to dismiss

is DENIED.



DATED:   March 21, 2007                /s/RUDY LOZANO, Judge
                                       United States District Court
